                         UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                        NO. 5:19-CR-331-BO-3


 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )    MOTION FOR ARRAIGNMENT VIA
                                                 )        VIDEO OR TELEPHONE
 MATTHEW SCOTT McCLOUD                           )            CONFERENCE
                                                 )
              Defendant                          )
                                                 )


       Defendant Matthew McCloud, by and through counsel, respectfully moves for an

Arraignment date to be scheduled as soon as possible in the Court’s April 2020 term via video

conference or telephone conference. This matter is currently set for arraignment during the May

2020 term of court. In support of this Motion, Mr. McCloud states the following:

       1.      Mr. McCloud has pending charges before this Court including Passport Fraud and

               Aggravated Identity Theft.

       2.      Mr. McCloud and the government have reached a resolution of his charges. That

               resolution cannot be effectuated without some type of appearance before this Court.

       3.      Mr. McCloud is currently held without bond in this matter.

       4.      Mr. McCloud is here from the State of Missouri pursuant to an application by the

               government for a writ of habeas corpus that was ordered by U.S. Magistrate Judge

               Robert T. Numbers, II. See Writ of Habeas Corpus, Case No. 5:19-cr-00331-BO

               (filed Jan. 14, 2020).

       5.      Missouri state officials have informed the undersigned that Mr. McCloud is

               currently eligible for parole in Missouri but they cannot complete the administrative




            Case 5:19-cr-00331-BO Document 86 Filed 04/16/20 Page 1 of 4
                process necessary for that parole to begin without the physical presence of Mr.

                McCloud in Missouri. These same officials have informed the undersigned that

                even if Mr. McCloud ultimately has to serve a federal sentence of incarceration in

                this matter that he would have to physically return to Missouri first to complete the

                administrative process for his state parole before he would then be sent to a federal

                penitentiary.

       6.       Based upon currently known information, it does not appear that Mr. McCloud will

                automatically receive any credit by the U.S. Bureau of Prisons for the time he has

                been held in this pending federal matter.

       7.       As a result, Mr. McCloud has significant liberty interests at stake and may suffer

                irreparable injustice if there is any further delay in this matter pending before this

                Court.

       8.       Mr. McCloud is eligible to have his arraignment conducted via video conference or

                telephone conference pursuant to this Court’s Standing Order and the Coronavirus

                Aid, Relief and Economic Security Act (“CARES Act”).               See In re Court

                Operations Under the Exigent Circumstances Created by the Covid-19 Pandemic

                (C.J. Boyle, Mar. 18, 2020); CARES Act, Pl. 116-136, 134 Stat 281 (Mar. 27, 2020)

                at § 15002(b)(1) and (2).

       9.       Mr. McCloud has consulted with the undersigned and consents to an arraignment

                conducted via video conference or telephone conference.

       10.      The government does not object to this Motion.

       WHEREFORE, the Defendant respectfully requests an arraignment of Mr. McCloud be

scheduled as soon and as safe a manner as possible via video conference or telephone conference.

                                                  2


             Case 5:19-cr-00331-BO Document 86 Filed 04/16/20 Page 2 of 4
Respectfully submitted, this 16th day of April, 2020.


                                     /s/Shana L. Fulton
                                     Shana L. Fulton
                                     Attorney for Defendant
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                                     State Bar No. 27836
                                     LR 57.1 Counsel (Appointed)




                                        3


   Case 5:19-cr-00331-BO Document 86 Filed 04/16/20 Page 3 of 4
                          UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                                  NO. 5:19-CR-331-BO-3


UNITED STATES OF AMERICA                     )
                                             )         CERTIFICATE OF SERVICE
v.                                           )
                                             )
MATTHEW SCOTT McCLOUD                        )
                                             )
            Defendant                        )
                                             )


     I hereby certify that the foregoing document was served on the following parties via

CM/ECF:

     Gabriel J. Diaz
     Assistant United States Attorney

     Respectfully submitted, this the 16th day of April, 2020.

                                          /s/Shana L. Fulton
                                          Shana L. Fulton
                                          Attorney for Defendant
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                                              4


          Case 5:19-cr-00331-BO Document 86 Filed 04/16/20 Page 4 of 4
